            Case 3:08-cr-00041-LRH-RAM                Document 128         Filed 02/05/09         Page 1 of 6
AO 2458 (Rev.09/Os)JudgmentinaCriminalCase
    *    sheet1

                                         IJNITED STATES D ISTRICT CO U
                                                 DISTRICT OFNEVADA                     FILEDRED
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                                                                                                                          ët';
                                                                                                                             o
                                                                                                                             c'r$E;
UNITED STATES OF AMERICA                     JUDGM ENT TN A CRIM INAL C SE                           -- '-----r
            VS.
                                                                                                                            ;

                                             USMNUMBER:        43078048-                                                    l
                                                                                                                            I
                                                                                        CLERKUSpfsTfqlc'
                                                                                                       rCOLJRT
                                             M arc Picker                                   1                      ,,
THE DEFENDANT:                               DEFENDANT'SAU ORNEY                 BY:                                   rï?l
                                                                                                                          JY'/
                                                                                                          -    -   .u= .- --. â
(7) pled guilty to Count6oftheSupersedinzIndictment                            .
( ) plednolo contendereto countts)                                          whichwasacceptedbythecourt.
( ) wasfoundguilty oncokmtts)                                               afterapleaofnotguilty.
Thedefendantisadjudicated guiltyoftheseoffensets):
                                                                                 Date
Title & Section                   NatureofOffense                                O ffense Ended                         Count

21U.S.C.841(a)(1),(b)(1)(A), ConspiracytoPossessW ithlntentto                    5/19/08                                6
(b)(1)(B)and846              DistributeaControlledSubstance



        Thedefendantissentencedasprovidedinpages2through 6 ofthisjudgment.Tbesentenceisimposedpursuant
to the SentencingReform Ad of 1984.

( ) Thedefendanthasbeenfoundnotguiltyon cotmtts)
(J') Counts3.4and5oftheSunersedinelndictmentandthelndictmentaredismissedonthemotionoftheUnited States.
        IT IS ORDERED thatthe defendantm ustnotify theUnited StatesAttorney forthisdistrictwithin 30 daysofany
change ofnam e,residence,orm ailing addressuntila1lfm es restitution costs and specialassessments im posed by this
judgmentaref'
            ully paid. lfordered to pay restitution,thedefendantmustnotifythecourtandUnited Statesattorney of
m aterialchangesin economiccircum stances.
                                                               FEBRUARY 2.2009
                                                               Dateoflmm sition ofJudgment




                                                                   lgnature ofJudge

                                                               LARRY R.HICK S
                                                               U.S.DISTRICT JUDGE
                                                                             -

                                                               Nam e and TitleofJudge
                                                                           3/d$
                                                               Date
             Case 3:08-cr-00041-LRH-RAM             Document 128       Filed 02/05/09     Page 2 of 6
AO 2458 (Rev.09/08)JudgmentinaCriminalCase
     *    Sheet2-Imprisonm ent
DEFEN DANT:                JOSE ANDRADE TORRES                                                Judgment-Page 2
CASE M JM BER:             3:08-cr.41-LRl1(RAM)
                                                  IM PR ISO N M ENT

        Thedefendantisberebycomm ittedto thecustodyoftheUnited StatesBureau ofPrisonstobeimprisoned foratotal
term of:FIFTY FOLJR (54)M ONTH S                              -




()       Thecourtmakesthefollowingrecommendationsto theBureau ofPrisons:




(J) 'rhedefendantisremnndedtothecustodyoftheUnited StatesM arshal.
()       Thedefendantshallsurrenderto theUnited StatesM arshalforthisdistlict:
         ( ) at                  a.m ./p.m .on                          --. .--. .-
         ( ) asnotifiedbytheUnited StatesM arshal.
()       ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesigtmtedbytheBureauofPrisons:
         ( ) before2 p.m .on
         ( ) asnotifiedbytheUnited StatesM arshal.
         ( ) asnotifiedbytheProbationofPretrialServicesOffice.
                                                      R ETU R N

Ihaveexecutedthisjudgmentasfollows:




         D efendantdelivered on                              to
at                                                                        .withacertifiedcopyofthisjudgment.

                                                             IJNITED STATES M ARSHAL

                                                             BY:
                                                                      Deputy United StatesM arshal
            Case 3:08-cr-00041-LRH-RAM                Document 128          Filed 02/05/09        Page 3 of 6
AO 24t
     58 (Rev09/08)Judgmenti
                          naCriminalCase
         Sheet3-Supervised Reiease
DEFEND ANT:               JOSE ANDRADE TORRES                                                        Judm ent-Page 3
CASE         BER.
                .         3:08-cr-41-LRH(RAM)
                                          SU PER VISED R EL EA SE
        Upon release from imprisonment,thedefendantshallbe on supervised releasefora tenn ofFIVE (5)YEARS

       The defendantmustreportto theprobation officein thedistrictto which the defendantisreleased within 72hours
ofreleasefrom thecustody oftheBureau ofPrisons.

Thedefendantshallnotcom rnitanotherfederal,state,orlocalcrim e.

Thedefendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlaw ftzluse ofa
controlled substmwe.Thedefendantshallsubm ittoonedrugtestwithin 15 daysofreleasefrom im prisonm entand atleast
two periodic drug teststhereafter,notto exceed 104 drug testsannually.Revocation ism nndatory forrefusalto comply.

()  Theabovedrugtestingoonditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesalow risk
    offuturesubstanceabuse.(Check,ifapplicable.)
(z'
  ) Thedefendantshallnotpossessatirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
    ifapplicable.)
(7) ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobation officer.(Check,ifapplicable.)
( ) ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42U.S.C.
    j16901,etseq.)Asdirectedbytheprobationofficer,theBureauofPrisons,oranystatesexoffenderregistration
    agency in which he or she resides.,works,isa student,orwasconvicted ofa qualifying offense. (Check,if
    applicable.)
( ) Thedefendantshallparticipateinan approvedprogram fordomesticviolence.(Check,ifapplicable.)
       Ifthisjudgmentimposesa fineorarestitution,itisacondition ofsupervised release thatthedefendantpay in
accordancewiththeScheduleofPaymentssheetofthisjudgment.
        Thedefendantm ustcomply with the standm'
                                               d conditionsthathavebeen adopted by thiscourtaswellaswith any
additionalconditionson theattached page.

                                     STAND A.
                                            R D CONDITIO NS OF SUPERVISION
1)      thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
2)      tlledefendantshallreporttotheprobation officerand shallsubmitatruthfulandcompletewrittenreportwithinthef'
                                                                                                                trstfivedays
        ofeach m onth;
3)      thedefendantshallanswertruthfullyallinquiriesbytheprobationofficerandfollow theinstructionsoftlleprobationoftker;
4)      thedefendantshallsupporthisorherdependantsandmeetotherfamilyresponsibilities;
5)      thedefendantshallworkregularlyatalawfuloccupationtmlessexcusedbytheprobationoflicerforschooling,trairdng,orother
        acceptablereasons;
6)      thedefendantshallnotifytheprobation officeratleastten dayspriorto anychangeinresidenceoremployment;
7)      the defendantshallrefrain from excessive use ofalcoholand shallnotpurchase possess use distribute oradministerany
        controlledsubstanceoranyparaphernaliarelated toany controlled substances exceptasprescribed byaphysicimr
8)      thedefendantshallnotfrequentplaceswherecontrolledsubslncesareillegallysold,used,distributed,oradministered;
9)      thedefendantshallnotassociatewithanypersonsengagedincriminalactivity,andshallnotassociatewithanypersonconvicted
        ofafelony,unlessgranted pennission todo sobytheprobationofficer'
10)     thedefendantshallpennitaprobationofricertovisithim orheratanytimeathomeorelsewhereandshallpennitconfiscation
        ofany contraband obsenr
                              cdinplain view oftheprobation officer.
11)     thedefendantshallnotifytheprobationofficerwithin seventptwo hoursofbeing arrestedorquestionedby alaw enforcement
        ofticcr'
12)     thedefendantshallnotenterintoanyagreementtoactasaninfonneroraspecialagentofalaw enforcementagencywithoutthe
        pennission ofthecourt.and
13)     asdirected by theprobation officer,thedefendantshallnotifythirdpartiesofrisksthatmaybe occasionedbythe defendant's
        crim inalrecord orpersonalhistoryorcharacteristics,and shallpermittheprobation officertom ake such notificationsand to
        conflnn thcdefendam 'scompliancewith suchnotiticationrequirem ent.
            Case 3:08-cr-00041-LRH-RAM            Document 128         Filed 02/05/09     Page 4 of 6
AO2458 (Rev.09/08)JudqmentinaCriminalCase
        Sheet3 -Supem sedRelease
DEFENDANT:              JOSE ANDRADE TORRES                                                   Judm ent-Page 4
CASE NUM BER:           3:08-cr-41-LR.
                                     H(RAM )
                                    SPECIAT,CONDITIO NS O F SUPERV ISION

1.      Possession ofW eaoon -The defendantshallnotpossess,havetmderhis/hercontrol,orhaveaccessto any t-
                                                                                                       irearm ,
        explosive device,orotherdangerousweapons,asdefined by federal,stateorlocallaw.

2.      W an-antlessSearch -Thedefendantshallsubrnithis/herperson,property,residence,placeofbusinessand vehicle
        tm derhis/hercontrolto a search,conducted by theUnited Statesprobation officerorany authorized person under
        the l
            'mm ediate and personalsupenision ofthe probation officer,ata reasonabletim eand in a reasonable m anner,
        based upon reasonable suspicion ofcontraband orevidence ofaviolation ofa condition ofsupervision.Failureto
        subrnitto a search m ay begroundsforrevocation.Thedefendam shallinform any otherresidentsthatthepremises
        maybesubjecttoasearch pursuanttothiscondition.
3.      lmm ierationComoliance-Ifdefendantisdeported heshallnotreentertheunited Stateswithoutlegalauthorization.
        lf defendantdoesreenterthe United States,with orwithout legalauthorization,he shallreportin person to the
        probation oftice in thedistrictofreentry within 72 hours.

4.      TnzeName -Defendantshallusehistnzenam eatalltimesand willbeprohibited from the useofany aliases,false
        datesofbirth,socialsecurity numbers,placesofbirth,and any otherpertinentdemographic infonnation.
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AO 21k
     58 (Rev09/08)Judm entinaCriminalCase
         Shed 5-Crim inalM onetaryPenalties
D EFENDAN T:               JOSE ANDRADE TORRES                                                   Judgment-Page 5
CASE NUM BER:              3:08-cr-4l-LRH(RAM )
                                          C RIM IW A L M O NETA RY PEN AL TIE S

        n e defendantm ustpaythe totalcrim inalm onetary penaltiesunderthe schedule ofpaymentson Sheet6.

                                    Assessm ent                    Fine                        Restitution

        Totals:                     $100.00                        SW AIVED                    SN/A
                                    Dueand payable inmzediately.

()      OnmotionbytheGovermnent,IT ISORDERED thatthespecialassessmentimposedbytheCourtisremitted.
()      Thedetermination ofrestitutionisdeferreduntil                         .An AmendedJudgmentin aCriminalCase
        (AO 245C)willbeentered aftersuch determination.
()      Thedefendantshallmakerestitution(includingcolnmunityrestitution)tothefollowingpayeesin theamountlisted
        below .

        lfthedefendam m akesapartialpaym ent,each payee shallreceivean approxim ately proportionedpaym ent,tmless
        specifiedothenviseinthepriority orderorpercentagepaymentcolunm below.However,plzrsuantto 18U.S.C.j
        3664(1),a11nonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
Nam eofPavee                                  TotalLoss            Restitution Ordered         Prioritv ofPercentaee

Clerk,U .S.DistrictCourt
Attn:FinancialO ftk er
CaseNo.
333 LasVegasBoulevard,South
LasV egas,N V 89101

TOTALS                              :         $                    $

Restitution am otmtordered pursuantto plea agreem ent: $

The defendantmustpay intereston restitution and a f'
                                                   m e ofm ore than $2,500,unlessthe restit-ution orfine is paid in full
beforethetifteenth dayafterthedateofjudgment,pursuantto l8U.S.C.j3612(9.A1lofthepaymentoptionson Sheet6
maybesubjecttopenaltiesfordelinquencyand default,plzrsuantto 18U.S.C.j 3612(g).
The courtdetenninedthatthe defendantdoesnothave theability to pay interestand itisordered that:

       theinterestrequirementiswaived forthe: ( )fme ( )restit-ution.
       theinterestrequirementforthe: ( )fine ( )restitution ismodifiedasfollows:




*Findingsforthetotalam ountoflossesarerequired underChapters 109A,110,1IOA,and 113A ofTitle 18 for offenses
comm itted on orafterSeptember13,1994 butbefore April23,1996.
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AO2j5B (Rev09/08)-JudgmentinaCrimin
        Sbeet7-DenialofFedemlBenefi
                                   alCase
                                  ts
D EFENDANT:             JO SE AN DRAD E TORRES                                                 Judgm ent-Page 6
CASE NLTMBER:           3:08-cr-41-LRH(RAM )
                                       D EN IA L O F FEDEM L BEN EFITS
                            (ForOffensesCommittedOnorAherNovember18,1988)
FOR DRUG TRATFICKER PIJRSUANT TO 21U.S.C.j862
        IT IS ORDERED thatthedefendantshallbe:

(J'
  )     ineligibleforallfederalbenefitsforaperiod ofFIVE (5)YEARS
()      ineiigibleforthefollowing federalbenefitsforaperiod of                                    (specifybenefittsl)

                                                        OR
()     Havingdetenninedthatthisisthedefendant'sthirdorsubsequentconvictionfordistributionofcontrolled substances,
       IT IS ORDERED thatthedefendantshallbeperm anently ineligible fora1lfederalbenetits.

FOR DRUG POSSESSORSPURSUANT TO 21U.S.C.b 862(b)
       IT IS ORDERED thatthedefendantshall:

()     beineligibleforal1federalbenefitsforaperiodof
()     beineligibleforthefollowing federalbenelitsforaperiod of
       (specifybenetittsl)
()     successfullycompleteadrtzg testingandtreatmentprogram.
()     perfonn communityservice,asspecitied in theprobation andsupenisedreleaseportion ofthisjudgment.
       IS FURTHER O RDERED thatthe defendantshallcomplete any dl'
                                                                ug treatm entprogram and conunulzity senice
specitiedinthisjudpnentasarequirementforthereinstatementofeligibility forfederalbenetits.
       Pursuantto21U.S.C.j862(d),thisdenialoffederalbenefitsdoesnotincludeanyretirement,welfare,Social
Security,health,disabilit'y,veteransbenefit,public housing,or other sim ilarbenefit,or any otherbenefitforw hich
paym entsor servicesare required foreligibility. The clerk is responsible for sending a copy ofthispage and the first
pageofthisjudgmentto:
       U.S.D epartm entofJustice,Office ofJusticeProgram s,W ashington,DC 20531.
